Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 1 of 27




               EXHIBIT C

                  PUBLIC - REDACTED
                   Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 2 of 27
 Google’s Motion to Strike

 Google moves to strike Sonos’s expert’s application of the Court’s construction



 “playback queue” is used for playback
                                                                                       -Court’s SJ Op., Dkt. 316 at 9-10.




 “playback queue” contains entire list
                                                                                          -Court’s SJ Op., Dkt. 316 at 10.




 “playback queue” cannot be used to
  merely process the list for playback
                                                                                           -Court’s SJ Op., Dkt. 316 at 10.




 “playback queue” must be the queue
  that “runs the show”
                                                                                          -Court’s SJ Op., Dkt. 316 at 10.




                                                                                                                              1
                   Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 3 of 27
 Google’s Motion to Strike

   Google moves to strike an alleged new theory concerning




  1. Premised on an incorrect understanding of Sonos’s infringement contentions


  2.                   was disclosed in Sonos’s contentions – Sonos’s expert’s
       discussion of additional code is additional evidence, not a new theory


  3. Google has previously correctly understood Sonos’s contentions




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                              2
                 Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 4 of 27
Google’s Motion to Strike

 1. Premised on an incorrect understanding of Sonos’s infringement contentions

      Google contends that
       Sonos accused a
       “message” as being the
       claimed “remote playback
       queue”
                                                                                                                   -Google’s Mot. at 7.




      Sonos’s theory has always been that the “remote playback queue” is a a queue
       stored on Google’s cloud servers – not a message




                                                                         -Sonos’s infringement contentions at 9-11, 15-16.
                                                                                                                                          3
                 Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 5 of 27
 Google’s Motion to Strike

        2.                         was disclosed in Sonos’s contentions




                                                                            -Sonos’s contentions at 15.




                                                                               -Sonos’s contentions at 24.


CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                    4
                 Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 6 of 27
 Google’s Motion to Strike

        3.      Google has previously correctly understood Sonos’s contentions




                                                   -Google’s Rog 12 Resp. at 48.




                                                                                     -Google’s SJ Mot., Dkt. 483 at 6.


                -Google’s Mot. for Leave to File Supp. CC Briefing, Dkt. 375 at 2.




                                                                                      -Google’s Expert’s Rpt. at ¶ 87.




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                                5
                     Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 7 of 27
Google’s Motion to Strike

        Google moves to strike new “playback paths” for Hub devices


 1. The asserted claims are directed to functional capability – not actual performance


           [1.0] A computing device comprising:

           [1.1] at least one processor;

           [1.2] a non-transitory computer-readable medium; and

            [1.3] program instructions stored on the non-transitory
     computer-readable medium that, when executed by the at
     least one processor, cause the computing device to perform
     functions comprising:

                 [1.4]       operating in a first mode in which
           the computing device is configured for playback of a
           remote playback queue provided by a cloud-based
           computing system associated with a cloud-based media
           service;
                                                          -’033 Pat., Cl. 1.




                                                                                         6
                   Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 8 of 27
 Google’s Motion to Strike

          Google moves to strike new “playback paths” for Hub devices

   2. Sonos described this functional capability




                                                                     -Sonos’s infringement contentions at 8.




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                      7
                   Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 9 of 27
 Google’s Motion to Strike

          Google moves to strike new “playback paths” for Hub devices

   2. Sonos described this functional capability
                                                                                               -https://support.google.com/googlenest/answer/9165738?hl=en




                                                     -Sonos’s infringement contentions at 8.




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                                                                    8
                  Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 10 of 27
 Google’s Motion to Strike

          Google moves to strike new “playback paths” for Hub devices

   2. Sonos described this functional capability




                                                                    -Sonos’s infringement contentions at 26.




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                      9
                 Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 11 of 27
Google’s Motion to Strike

       Google moves to strike new “playback paths” for Hub devices

 3. Google previously understood that Sonos was not exclusing any “playback path”


      Google’s own description of the Hub functionality is agnostic to any “playback path”


      Google’s description of how a media player receives media is not dependent on
       any given “playback path”


      Google’s description of how a media player receives media references only
       controller  player scenarios – which Sonos incorporated by reference into its
       contentions


      Google never advanced non-infringement positions based on “playback paths”




                                                                                              10
                 Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 12 of 27
 Sonos’s Motion to Strike

                Google alleges a new “autoplay” feature of YTR




                       *          *           *




                                                    -Google’s expert reply rpt. at ¶¶ 79-80.




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                      11
                    Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 13 of 27
Sonos’s Motion to Strike

                   Google alleges a new “autoplay” feature of YTR



 Google’s contentions disclose only a manual playback feature




                                            -Google’s invalidity contentions at 3.




                                           -Google’s invalidity contentions at 6-7.
                                                                                         12
                    Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 14 of 27
Sonos’s Motion to Strike

                   Google alleges a new “autoplay” feature of YTR



 Google’s contentions disclose only a manual playback feature




                                           -Google’s invalidity contentions at 3.




                                                              -Sonos’s Expert Rebutal Report ¶¶ 172 (citing GOOG-SONOSNDCA-00071318).


                                                                                                                                        13
                 Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 15 of 27
 Sonos’s Motion to Strike

       Google alleges a new                                           feature of Tungsten/Nexus Q




                                        -Google’s expert opening rpt. at ¶ 220.




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                           14
              Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 16 of 27
Sonos’s Motion to Strike

     Google alleges a new                                       feature of Tungsten/Nexus Q

            Google’s contentions never mention                                         or any other
             “server-generated” playlist




                                                                               -Google’s invalidity contentions at 9-10.




                    -Google’s invalidity contentions at 9-10.                                                              15
                    Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 17 of 27
Sonos’s Motion to Strike
                            Google asserts new Bose products


  Google’s invalidity contentions asserted “Bose Lifestyle 50”




                                                          -Google’s invalidity contentions at 1.




                                                                                                   16
                       Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 18 of 27
Sonos’s Motion to Strike
                                      Google asserts new Bose products

 Google now asserts new Bose Products:

      Bose Link Communication Protocol
      Lifestyle SA-2 Stereo Amplifier
      Lifestyle SA-3 Stereo Amplifier




                                               -Bose Lifestyle SA-2 Stereo Amplifier document (Ex. P).


              -Bose Link document (Ex. Q).




                                                                                                         -Bose Lifestyle SA-2 / SA-3 Owner’s Guide (Ex. R).




                                                                                                                                                              17
                        Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 19 of 27
 Sonos’s Motion to Strike

                                   Google asserts a new                                         NIA



         Google’s Expert’s new NIA                                                    Google’s NIA Explanation in Discovery




                                                                                                                  -Google’s Rog 18 Resp. at 13-14.


                                         -Google’s Expert’s Rebuttal Rpt. at ¶ 298.




              -Google’s Expert’s Demonstrative at Slide 82 (highlight added).

CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                                                            18
                    Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 20 of 27
 Sonos’s Motion to Strike

                    Google asserts a new                                                         NIA



           Google’s Expert’s new NIA                                         Google’s NIA Explanation in Discovery




                                                                                                           -Google’s Rog 18 Resp. at 14.
                             -Google’s Expert’s Rebuttal Rpt. at ¶ 280.




     Expanded to all apps                                                 Limited to YouTube

     All media paused
              -or-                                                         Only encompassed pausing audio playback
     All media continues

CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                                                  19
                     Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 21 of 27
 Sonos’s Motion to Strike

                        Google asserts a new “No Identification of
                             Groups as Zone Scenes” NIA


           Google’s Expert’s new NIA                                             Google’s NIA Explanation in Discovery




                           -Google’s Expert’s Rebuttal Rpt. at ¶¶ 178-179.

                                                                                                             -Google’s Rog 18 Resp. at 8, 10.


     Restricting group naming                                                Limited to “no standalone” and “no overlapping”




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                                                       20
                     Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 22 of 27
 Sonos’s Motion to Strike

            Google asserts a new                                                                        theory



  Google’s Expert’s new Noninfringement Theory                               Google’s Noninfringement Discovery Response




                                                                                                               -Google’s Rog 12 Resp. at 47.
                              -Google’s Expert’s Rebuttal Rpt. at ¶ 246.




                                                                            Non-infringement theory was based on which
                                                                             entity sent the instruction – not the content
                                                                             of the instructions




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                                                      21
                     Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 23 of 27
 Sonos’s Motion to Strike

                          Google asserts a new “videoID” theory



  Google’s Expert’s new Noninfringement Theory                               Google’s Noninfringement Discovery Response




                                                                                                               -Google’s Rog 12 Resp. at 48.




                           -Google’s Expert’s Rebuttal Rpt. at ¶¶ 222-223.




                                                                             No disclosure of chunk theory


                                                                             No disclosure that the          was not used
CONTAINS   GOOGLE CONFIDENTIAL INFORMATION.                                    to retrieve media items                                         22
                     Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 24 of 27
Sonos’s Motion to Strike

                     Google asserts a new “identical queue” theory



  Google’s Expert’s new Noninfringement Theory                                     Google’s Noninfringement Discovery Response




                     *   *   *




                                                                                                                    -Google’s Rog 12 Resp. at 48.




                                                                                    No disclosure of “queue” not existing


                                                                                    No disclosure that the “queue” needs to
                                                                                     contain the same contents

                                 -Google’s Expert’s Rebuttal Rpt. at ¶¶ 203-205.


 The “queue” must be the same before and after
  casting – contents cannot change
                                                                                                                                                    23
                       Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 25 of 27
 Sonos’s Motion to Strike

                   Google asserts a new “computing device” theory



  Google’s Expert’s new Noninfringement Theory                                     Google’s Noninfringement Discovery Response




                        *   *   *




                                                                                                                    -Google’s Rog 12 Resp. at 47.




                                                                                    No disclosure of Hub not qualifying as a
                                -Google’s Expert’s Rebuttal Rpt. at ¶¶ 187, 228.
                                                                                     “computing device”


  Hub device is not a “computing device” – it is a
   “playback device”




CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                                                           24
                     Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 26 of 27
Sonos’s Motion to Strike

                              Google asserts a new “pause” theory


  Google’s Expert’s new Noninfringement Theory                                 Google’s Noninfringement Discovery Response


                                                                                                                                  [1.0-1.2]


                                                                                                       *   *   *
                                                                                                                                        [1.7]

                      *   *   *




                                                                                                       *   *   *                        [1.4]


                                                                                                       *   *   *                        [1.8]



                                                                                                                   -Google’s Rog 12 Resp. at 47-48.



                                                                                No disclosure of Hub not “displaying a
                                  -Google’s Expert’s Rebuttal Rpt. at ¶ 195.
                                                                                 representation” while operating in the first
 Hub device running YoutTube pauses playback
                                                                                 mode
  when Cast icon is selected                                                                                                                          25
                       Case 3:20-cv-06754-WHA Document 583-3 Filed 04/21/23 Page 27 of 27
 Sonos’s Motion to Strike

                             Google asserts a new                                                  theory



   Google’s Expert’s new Noninfringement Theory                                Google’s Noninfringement Discovery Response
                                                                                                                               [4, 12]




                                                                                                               -Google’s Rog 12 Resp. at 63.




                                                                                 “storage” from dependent claims 4, 12




                             -Google’s Expert’s Rebuttal Rpt. at ¶¶ 116-117.




   “storage” from independent claims 1, 9 is not met

CONTAINS GOOGLE CONFIDENTIAL INFORMATION.                                                                                                      26
